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                EXHIBIT A
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                                                                                                         US010197257B2

(12) United States Patent                                                             ( 10) Patent No.: US 10 , 197,257 B2
     Gammons et al.                                                                   (45) Date of Patent:                           Feb . 5 , 2019
(54 ) LIGHTING SYSTEM AND CONTROL                                            (58 ) Field of Classification Search
       THEREOF                                                                     CPC .. HO5B 37 / 02 ; H05B 37 /0272 ; H05B 37 / 029 ;
                                                                                                    H05B 37 /0281; H05B 33 / 08 ; HO5B
(71) Applicant: Rotolight Limited , London (GB )                                                   33 /0842 ; F21 V 23 / 00 ; F21V 23 / 003
                                                                                   See application file for complete search history.
(72) Inventors: Roderick Allen Gammons, Staines
                    Upon Thames (GB ); Andrew Francis .                      (56 )                 References Cited
                    Witham GB( ); Roderick Aaron                                           U .S . PATENT DOCUMENTS
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(73 ) Assignee: Rotolight Limited , London (GB )                                                              (Continued )
( * ) Notice: Subject to any disclaimer, the term of this                                       FOREIGN PATENT DOCUMENTS
                    patent is extended or adjusted under 35
                    U . S .C . 154 (b ) by 0 days .                          CN
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(21) Appl.No.: 15/820,469                                                                                     (Continued )
(22 ) Filed :       Nov . 22, 2017                                                                 OTHER PUBLICATIONS
(65 )                  Prior Publication Data                                European Search Report and the European Search Opinion dated
                                                                             Aug . 1, 2017 From the European Patent Office Re. Application No.
      US 2018/0094798 A1 Apr. 5 , 2018                                           17165609 .3. (7 Pages ).
            Related U.S .Application Data                                                        (Continued )
(63 ) Continuation of application No. 15 /481,460 , filed on                 Primary Examiner — Thai Pham
       Apr. 7 , 2017                                                             (57 )                ABSTRACT
                        ( Continued )                                            A method for controlling a lighting device to produce a
( 30 )          Foreign Application Priority Data                            range of user customizable realistic lighting effects for
                                                                             videography , broadcasting , cinematography, studio filming
  Apr. 20 , 2016      (GB ) ................................... 1606907 .2   and /or location filming is disclosed . The method comprises :
                                                                             calculating a time varying lighting value based on at least
(51 ) Int . Ci.                                                              one simulation parameter; wherein said at least one simu
      F21V 23 / 00                  ( 2015 .01)                              lation parameter for characterizing a lighting effect is at least
      H05B 37/02                                                             one of: a random brightness; a random duration , and a
                                    (2006 .01)                               random interval; said simulation parameter depending on the
(52) U .S. CI.                                                               lighting effect being simulated and outputting said time
      CPC ......... F21V 23 /003 ( 2013 .01) ; H05B 37 / 029                 varying lighting value thereby to simulate a lighting effect .
                  (2013 .01); H05B 37 /0254 (2013.01); H05B
                                           37/0272 (2013 .01)                              21 Claims, 5 Drawing Sheets




                                      105                                                 106
                                                           wwwmmmmmmmmmmmm




                       8   oscago
                                                              Effect simulator

                                                                                                   102
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                                                           US 10 ,Page
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  81133
            104      106       300                302                   304                  102 - 1

                              Analogue            DMX
                                effect                                  Power
                               simulator
                                            he distribution        distribution
                             ( Flickerbox')                                      AC
                                                                                              102 - 2

                                                306                        X
                                                            AC power
                                     Figure 1               generator      XKANUHC
                                                                                             102- 3




                                                                                              102 - 4




                     105                 100                         106


      000
       .
       C

             POGNV                       Effect simulator


                                                                                      102



                                            F
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                                                                                Receive simulation parameters such as
                             Receive                                          random and / or user selectable parameters
                        simulation
                       parameters
                                                                            Calculate a time varying lighting value based on
                                                                                  the received simulation parameters
    $2 -            Simulate variation
                    of light over time                                            Output the calculated time varying
                                                                                  lighting value to the lighting device


                    Send to light array                                           Desired lighting effect is simulated

                         8                                                                                   Figure 3b


                                                   130

                                                                                                                          *




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           Warna*
                        Oo od   * * * **   **
                                                           Effect simulator                VAR     ARMACIE




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                      200                    202                204



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                                                         Two

                                                      - Time


                                                   Figure 5
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                                         Lightt control system
                                                                                 Www         WWWWWW




                                                          Fire effect
                            Parameter                                                    Setting
     800               More info
                      Fire activity
                              t
                                                                                              :        :
                                                                         Low :                              High
                        More info
                       Fire colour                                                                2000K
                                     VAATAMARRARAANHAAN    117




                       More info
                       Peak brightness                                                              80 %
                        More info
                       Baseline brightness
                                  WAR                                                               40 %
                      WWWWWWWWWWWWWWWW                           WWWWW                    WWWWWWWWWWWWWWWWWWWW


                        More info

                       Camera frequency                                                            60Hz
                      Colour Swing Blue Monochrome                       Sno n     300




                                                  Figure 6
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            MA ME                             VW




                    WARNMY                    *




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                    WAY V R N M W
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                                                                    w




                                                        W dru   W   w
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                                              % Brightness
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                                                     US 10 , 197 ,257 B2
         LIGHTING SYSTEM AND CONTROL                                     Optionally , the colour or colour temperature varies in
                          THEREOF                                      dependence on a brightness lighting value .
                                                                         Optionally , the simulation parameter is related to one or
                   RELATED APPLICATIONS                                more of: a rate of increase of brightness ; a rate of decrease
                                                                    5 of brightness ; a rate of change of colour; a brightness; a local
   This application is a Continuation of U .S . patent appli-         maximal brightness ; a localminimalbrightness ; a brightness
cation Ser. No . 15 /481, 460 filed on Apr. 7 , 2017 , which           fluctuation period ; and a colour fluctuation period .
claims the benefit of priority of U .S . Provisional Patent     Optionally , the method may further comprise receiving a
Application No. 62 /319 , 809 filed on Apr. 8 , 2016 , and user input of one or more user -selectable simulation param
United Kingdom Patent Application No. 1606907 .2 filed on 10 eters and adapting the simulation in dependence on the one
Apr. 20 , 2016 . The contents of the above applications are or more user -selectable simulation parameters .
 incorporated herein by reference in their entirety .          Optionally , the simulation parameter comprises at least
          FIELD AND BACKGROUND OF THE                              one of: a maximum brightness ; a minimum brightness ; a
                        INVENTION                               is colour ; a fluctuation period ; and a trigger.
                                                                     Optionally, the simulation parameter comprises a camera
   This invention relates to a lighting system , and the control recording frequency .
of a lighting system , and the simulation of lighting special             Optionally, the time varying lighting value is calculated so
effects, and in particular to a lighting system for videogra -         as to vary at a slower rate than said camera recording
phy, broadcasting and cinematography .                              20 frequency .
    In the film , broadcast and TV industry a lighting control           Optionally, the simulation iterates through repeated cycles
ler called a “ flicker box ' which is independent of a lighting        of receiving at least one random simulation parameter and
device , is used to produce flickering light effects to mimic          simulating the lighting effect.
flickering light for example from a fire place , candle, elec -          Optionally, the lighting effect is designed to mimic at least
 trical spark or lightning for on set television / broadcast        25 one or more of: fire flickering; police light; television ;
production use .                                                       lightning flashing; electrical sparking; and fireworks.
     The flicker effect provided by these devices is typically           Optionally, the lighting value comprises brightness and /or
created using the analogue circuitry modulators contained              colour data .
within the ' flicker box ', controlled manually by dials and         Optionally , the method may further comprise converting
levers . Use of a flicker box is typically a complex , costlyyand
                                                              and
                                                               30 brightness
                                                               30 bric       and/or colour data into lighting signals and out
time consuming process that requires the setup , connection       putting the lighting signal data .
and control of multiple pieces of hardware typically includ
ing external Digital Multiplex (DMX ) and power distribu one or more ,light
                                                                     Optionally   the method may further comprise controlling
                                                                                       in dependence on the output.
tion devices, as well as typically requiring a physical wired 35 Optionally, the controlling     comprises changing the bright
connection to the ‘hot light source desired to be controlled . 35      prionany
   Typically such « flicker boxes' require specialist knowl-           ness and /or colour of the light.
edge and understanding to operate and remain inaccessible                Optionally, the method may further comprise receiving a
or 'out of reach ' to lower budget television productions .            definition of a trigger event, said trigger event initiating said
   Furthermore , many ' flicker boxes ' are incompatible with    output of the time varying lighting value thereby to simulate
LED light sources, and such systems require the use of 'hot ' 40 a lighting effect.
incandescent light sources which are energy inefficient and         Optionally, the method may further comprise detecting an
also pose health and safety risks to those working on set        occurrence of the trigger event and outputting said time
typically therefore requiring qualified lighting gaffers and varying lighting value thereby to simulate a lighting effect.
operators .                                                         Optionally, the method may further comprise storing the
   An improved solution is desired .                         45 calculated lighting value.
   According to one aspect of the invention , there is pro -       A method according to any of the preceding claims,
vided a method for controlling a lighting device to produce wherein the controlling is for a lighting system for videog
user customisable lighting effect, the method comprising : raphy, broadcast, cinematography, studio filming and/ or
calculating a time varying lighting value based on at least
one simulation parameter ; and outputting said time varying 50 Optionally , the method may further comprise controlling
lighting value thereby to simulate a lighting effect.
   Optionally, the method may further comprise receiving a plurality     of lights in dependence on the output.
                                                                 Optionally , the said plurality of lights output different
said at least one simulation parameter for characterising a   lighting values so as to simulate a lighting effect .
lighting effect.
                                                              . Optionally
  Optionally, said at least one simulation parameter for 55 time  .
                                                                            , the outputof said plurality of lights is offset in
characterising a lighting effect is random .
  Optionally, said at least one simulation parameter for        Optionally , the output of said plurality of lights overlap
characterising a lighting effect is random within predefined with   one -another so as to simulate a moving light source .
boundaries.                                                     Optionally, one light is a master light and the others of
  Optionally, the random simulation parameter is deter - 60 said plurality of lights are slaves .
mined in dependence on one or more user- selectable simu       According to another aspect there is provided a controller
lation parameters .                                                    for controlling a lighting device to produce a lighting effect,
   Optionally, the random simulation parameter is in a range           the controller comprising : a calculating device adapted to
determined in dependence on one or more user - selectable    calculate a time varying lighting value based on at least one
simulation parameters .                                   65 simulation parameter ; and an output adapted to control a
   Optionally, the simulation parameter is a colour or colour          lighting device according to the determined variation of
temperature .                                                          lighting over time.
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   Optionally, the controller may further comprise a random            Preferably , the parameters of the effects can be controlled
number source adapted to provide a random number for                 remotely via WiFi, Bluetooth , Zigbee or wireless DMX from
producing a random simulation parameter for characterising           a smart phone or tablet.
a lighting effect.                                                     Preferably , the parameters of the effects can be controlled
   Optionally , the controller is adapted to control a plurality 5 Via a serial communications interface (eg . RS232 , USB or
of lighting devices in dependence on the time varying DMX                ) from a PC running custom lighting control software.
                                                                      Preferably, the light source containing in built special
lighting value .
   Optionally , the controller comprises a wireless commu tively   effects is in the form of an LED lighting fixture . Alterna
nication interface adapted for wireless communication with 10 Preferably  it is in the form of or 'hot' light incandescent fixture .
                                                                                  , multiple lights may be connected together via
one or more lighting devices .                                     wired  DMX     , or via WiFi, Bluetooth , Zigbee or wireless
   Optionally , the controller comprises an input interface DMX to produce               a synchronised large area special effect.
adapted to receive a user input.                                      Preferably , when multiple lights are connected together to
  Optionally, the input interface comprises at least one of:         produce a synchronized large area special effect, the inter
a wireless communication interface; a dial ; a slider
                                                    Slider ; a 15 relationship of those connected lights is customizable so as
display and buttons ; and a touch screen .                        to allow all of the connected devices to fire at the same time
   Optionally, the controller may further comprise a con if desired , or, to enable a staggered effect to take place over
verter adapted to convert brightness and/or colour data from      an extended time duration and with customizable power
the simulator into lighting signals for output by the output. intensity , in order to create the effect that a static object is
   Optionally , the controller may be adapted to perform a 20 moving as the lights “ chase ” around a scene.
method as described herein .                                            Preferably , the system includes rolling shutter compensa
  According to another aspect there is provided a lighting           tion enabling the minimum light pulse width to be adjusted
system comprising a controller as described herein and at            to suit the shutter speed or frame rate of the user ' s camera
least one lighting device .                                   in order to prevent ' strobing ' due to the light effect being out
  Optionally, said controller and said lighting device are 25 of phase / sync with the frame rate of the camera , ensuring
integrated in a combined unit.                                      that each frame captured by the camera is fully illuminated .
  Optionally, the lighting system may further comprise a               Preferably , a light source can be designated as a “master ” ,
further lighting device separate from said controller .             and have connected ‘slave' light sources which fire in
  Optionally , the lighting device is a lighting device for    synchronization with the 'master' , or in a customizable
videography, broadcast , cinematography, studio filming and 30 sequence , with regard duration , power and / or colour tem
or location filming .                                                perature .
  According to another aspect there is provided a lighting        Preferably, the ‘slave ' light sources are connected to the
device comprising a controller as described herein .           ‘master ' light source via wired DMX , wireless DMX , wifi ,
   Optionally , the lighting device is a lighting device for   Bluetooth , or RS232 sync cable .
videography, broadcast, cinematography, studio filming and / 35 Preferably , the light contained in built special effects , can
or location filming .                                          be powered both from mains power, and / or via its own
  According to another aspect there is provided a computer           internal battery power source , providing greater flexibility
program product for controlling a lighting device to produce         and portability for location shooting .
a lighting effect, the computer program product adapted to             Preferably , the light source is capable of producing cus
perform , when executed , the steps of: calculating a time 40 tomisable effects including , but not limited to : Fire , Light
varying lighting value based on at least one simulation       ning, Police light, TV simulation , Neon Flickering sign ,
parameter; and outputting said time varying lighting value          M uzzle ( gunshot), Welding , Spark / Short Circuit, Scan (e .g .
thereby to simulate a lighting effect.                               fingerprint scanner ), Papparrazi flashes, Propeller, (Nuclear )
   Optionally , the computer program product may be                  Explosion and Wormhole .
adapted to perform , when executed , the steps of a method as 45 The invention extends to any novel aspects or features
described herein .                                              described and/or illustrated herein .
  According to another aspect of the invention there is            Further features of the invention are characterised by the
provided a controller for controlling a lighting device to      other independent and dependent claims
produce a lighting effect , the controller comprising : a cal-     Any feature in one aspect of the invention may be applied
culating device adapted to calculate a time varying lighting 50 to other aspects of the invention , in any appropriate com
value based on at least one simulation parameter ; and an            bination . In particular, method aspects may be applied to
output adapted to control a lighting device according to the         apparatus aspects, and vice versa .
determined variation of lighting over time.                       Furthermore , features implemented in hardware may be
   In a further aspect of the present invention there is implemented in software , and vice versa . Any reference to
provided a light with the built-in capability to generate a 55 software and hardware features herein should be construed
range of customizable cinematic special lighting effects , by accordingly .
modulating the speed , duration , power/brightness, and /or       Any apparatus feature as described herein may also be
colour temperature of the light output.                        provided as a method feature , and vice versa . As used herein ,
   Preferably, the parameters of the effects including but not means plus function features may be expressed alternatively
limited to speed , duration , power/brightness and colour 60 in terms of their corresponding structure , such as a suitably
temperature can be controlled locally via a simple user             programmed processor and associated memory .
interface on the light itself.                                        It should also be appreciated that particular combinations
  Preferably, the start/stop “ triggering " of the effects can be   of the various features described and defined in any aspects
controlled locally via a simple user interface on the light          of the invention can be implemented and / or supplied and /or
itself, remotely via WiFi, Bluetooth , Zigbee or wireless 65 used independently .
DMX from a smart phone or tablet, or from a wired 3 . 5 mm      The invention also provides a computer program and a
minijack remote trigger, or a wired DMX trigger.                     computer program product comprising software code
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adapted, when executed on a data processing apparatus, to                An input interface 105 including a control panel is pro
perform any of the methods described herein , including any           vided at a back panel of the lamp device 120. The control
or all of their component steps .                           panel can include for example buttons, rotary knobs , sliders ,
   The invention also provides a computer program and a and /or a display /input panel for user input of parameters for
computer program product comprising software code which , 5 simulating an effect. In a variant a simple digital interface is
when executed on a data processing apparatus, comprises provided on the light itself for user input of simulation
any of the apparatus features described herein .            parameters to control the lighting effect. In another variant
   The invention also provides a computer program and a      the lamp device 120 is adapted for communication with a
computer program product having an operating system          wireless user device and receives user -selectable simulation
which supports a computer program for carrying out any of 10 parameters to control the lighting effect from the user
the methods described herein and /or for embodying any of device . The user device may for example be a tablet or smart
the apparatus features described herein .                             phone with suitable hardware / software ( e.g . an app ) for
   The invention also provides a computer readable medium             receiving user input of simulation parameters and transmit
having stored thereon the computer program as aforesaid .             ting that data to the light 102 . The system of FIG . 2 is simpler
   The invention also provides a signal carrying the com - 15 to set up and less expensive than that of FIG . 1 as there are
puter program as aforesaid , and a method of transmitting     fewer pieces of hardware . Furthermore the energy ineffi
such a signal.                                                ciency of 'hot light' systems (i.e . a 1K hot light consumes
   The invention extends to methods and / or apparatus sub -          1000 watt /hour, vs 38watt per hour of current generation
stantially as herein described with reference to the accom -          LED system ), Systems such as that described in FIG . 1 using
panying drawings .                                               20 a flicker box and typically “hot lights ' also suffer from the
   The invention will now be described by way of example ,            significant disadvantage that a hot light is a fixed colour of
with references to the accompanying drawings in which :               light, either daylight 5600K or most commonly tungsten
   FIG . 1 is a schematic diagram of a ' flickerbox ' lighting        3200K . When recreating an effect such a lightning this effect
system ;                                                            would appear at the blue end of the colour spectrum i.e .
   FIG . 2 is a schematic diagram of a further lighting system ; 25 7000K + so utilising a 3200K light for this would require an
   FIG . 3a is a flow diagram of a method for adjusting a           operator to climb up a ladder to apply one or more CTB
lighting device ;                                                   (Colour temperature blue ) filter (s ) to the light in order to
   FIG . 3bis a more detailed version of FIG . 3a ;                 achieve the desired colour temperature .
   FIG . 4 is a schematic diagram of a further lighting system ;       Having the ability to control the special FX from the light
   FIG . 5 shows a time/brightness plot for a system of linked 30 source, which in itself is a bi- colour LED Fixture also
lights ;                                                              entirely eliminates that aspect of the process, the user can
   FIG . 6 is a graphic user interface for user input of              simply adjust the colour temperature from the back of the
simulation parameters ; and                                           unit, with a visible numeric display of that number elimi
   FIG . 7 is a graph of light brightness over time.                  nating significant time from the process .
                                                                 35      This is also a significant limiting factor in the creation of
     DESCRIPTION OF SPECIFIC EMBODIMENTS                              effects such as fire which typically burn blue on hotter peaks .
                   OF THE INVENTION                                   It would be possible using an LED light source containing
                                                                      in built special effects to reproduce both the warm " orange "
   In the present description the term " camera ' may be              light output near the tungsten end of the scale , whilst also
understood to mean a camera ( such as a digital camera , or 40 adding a " colour swing blue” on the peaks from the same
' film ' camera ) operable to record moving images.                   light source , something that would not be possible using a
   The lighting system may therefore be for a lighting                legacy system .
system for videography, broadcasting, cinematography, stu -             Examples of user defined parameters that the light con
dio filming and/or location filming.                                  taining in built special effects can customize in simulating a
   FIG . 1 shows a schematic diagram of a ' flickerbox ' 45 lighting effect are now described in more detail:
lighting control system . The system comprises an analogue     Brightness : The peak luminance of the effect from 1 % to
effect simulator, 300 , a DMX distribution hub 302, an AC         100 % of the lamp's available luminance output.
power generator 306 , an AC power distribution module 302               Colour : For multicolour effects this sets the range of
and a plurality of incandescent lights 102 . The analogue                  colours used over the spectrum of red , green and blue.
effect simulator 300 simulates a lighting effect such as fire , 50         For single colour effects it sets the colour temperature
or electrical sparking based on various parameters 104 . The              of the light.
analogue effect simulator 300 produces data 106 such as                 Trigger: To start the effect running . For example , a manual
brightness parameters that vary over time for producing the               trigger may be selected for manually triggering the start
desired lighting effect. The data 106 is used to modulate the             of a lightning burst , TV screen , or other effect.
light 102 such that the desired lighting effect is produced . 55        Frequency : typically from 0 .5 Hz to 50 Hz. This sets an
 The user has very limited ability to alter many of the                   average period between light peaks- e .g . a roaring fire
parameters to adapt the lighting effect as desired .                       may have a higher frequency than a single candle
   FIG . 2 schematically shows an example where a lighting                 flame.
effect simulator 100 and the light 102 are integrated in a              Depth : typically from 0 % to 90 % . This sets a base level
single studio lamp device 120 . In one example , the light 102 60          of illumination of the effect. For example a fire may
is an array of LEDs, preferably of differing colours. This                 have a base level of 50 % illumination superimposed on
arrangement does not require the DMX distribution hub 302 ,                a level varying from 50 % to 100 % to simulate flick
power elements 304 , 306 as described above, and is more                   ering flames .
flexible in producing effects as will be described in more              Rolling Shutter Compensation : Film and TV cameras
detail below . A microcontroller or other computing unit is 65             typically operate at frequencies between 24 Hz and 60
integrated in the lamp device 120 for performing calcula                   Hz. In order to provide consistent illumination during
tions.                                                                     each camera frame, short time-period (e.g . strobo
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     scopic ) lighting effects should have a minimum pulse        be replicated . The relative timing of the light sources can be
     width which lasts at least one camera frame period .         adjusted depending on the relative location of the sources ,
     This parameter can be adjusted to suit the camera and        and the speed of the effect to be replicated . It should be noted
     frame rate .                                                 that the ‘ fade up ' and 'fade down ' portions of each light
  'Colour Swing Blue ' simulates the effect of flame going 5 output 200 , 202 , 204 overlap with one- another to more
     up the chimney , ' peaks ' within the fire effect can be  accurately replicate the effect of a moving object, as opposed
    switched to transition between yellow and blue, to        t o a element jumping from one location to another.
    match the colour of a flame, creating a more dynamic          Related effects utilising similar timing controls are be
     and 3D fire effect. The brighter the ' spark ' the more       'paparazzi ' of multiple flashes coming from different loca
     blue the light output is . The colour of the output is 10 tions, or a ' propeller simulating a light source being
     therefore dependent on the brightness of the output (or      obscured by a rotating propeller. The use of a single con
     vice versa ) .                                               troller 130 may be used to control all of the lights 102 so as
   Further examples of lighting effects are for example to        to ensure an appropriate delay (or absence of delay) .
mimic television screen flicker, cinema illumination , illumi-       FIG . 6 shows an example of a graphic user interface 800
nation in a vehicle passing through a tunnel, or any situation 15 for user input of simulation parameters . In the illustrated
where the lighting varies over time in a characteristic            example the lighting effect to be simulated is a fire effect.
manner. A simulation can be defined that represents the            The user can select a fire activity (with a slider positioned
characteristics of the lighting effect, and suitable random        from ' low 'to 'high ') to set a frequency parameter as
parameters can be used to introduce a realistic variance in        described above ; a fire colour, a peak brightness; a baseline
the lighting effect.                                      20 brightness to set a depth parameter as described above ; and
   In a variant the simulator operates with pre - defined    a camera frequency . A wide range of further parameters can
parameters and random numbers, without further user input be provided for user input, for example if the fire activity ,
of parameters . This can still provide a realistic lighting       brightness and / or colour is to change over time ( to mimic a
effect , albeit with less adaptation to the user ' s preferences . fire dying down and reducing to embers or to mimic addition
   FIG . 3a illustrates a simple example of a method for 25 of fuel to a fire ). The user may also be provided with an
simulating a lighting effect. FIG . 3b illustrates in more detail  option of superimposing different types of lighting effects ,
the method for simulating a lighting effect In a first step S1     for example to mimic candlelight during a lightning storm .
simulation parameters are received , such as random param -          In one example , the rolling shutter compensation controls
eters and /or user -selectable parameters as shown in step S4 .    a minimum light pulse to match the shutter speed or frame
Where a random parameter is algorithmically generated it is 30 rate of the user ' s camera ( camera frequency ) to ensure even
only pseudo -random , but for the purposes of the simulation       illumination across the frame and eliminate possible strob
a pseudo -random parameter is sufficiently random for real-        ing. Therefore, the duration of the light pulse is longer than
istic simulation and is hence considered to be equivalent to      one period of the camera ' s recording frequency , or in other
a truly random parameter. In a second step S2 a simulation        words, the lighting value varies at a lower frequency than the
is performed based on a simulation model and the received 35 frequency of the camera .
parameters . The nature of the simulation model can vary              The lighting effect simulator 100 typically provides data
greatly, depending on the lighting effect that is desired and      106 in the form of brightness and /or colour values that vary
the sophistication of the desired simulation. As shown in S5 ,     over time. In order to cause the light 102 to produce the
the simulation calculates how the lighting changes over time       desired effect a lighting data converter may convert the data
in order to produce the desired lighting effect . Following 40 106 from the lighting effect simulator 100 into a suitable
simulation in a third step S3 the lighting information deter -     signal for a particular light 102 . For example for a light
mined by the simulation is output, for example to a lighting       emitting diode (LED ) array lighting the data conversion
device , as shown in step S6 , in order to produce the desired    occurs at an LED lamp control logic that produces and
lighting effect as shown in step S7 .                             supplies a separate pulse -width -modulation output for each
   FIG . 4 schematically shows an example showing a master 45 LED colour to an LED drive circuit. A lighting data con
light source 102 built into a lighting control unit 130 and a verter may be provided separately from the lighting effect
“ slave ’ light source 102 - 1 separate from the lighting control simulator 100 and the light 102 or it may be integrated with
unit. The lighting effect simulator 100 creates data 106          one or the other or both .
characterising a lighting effect and controls the master light      The light 102 in one example comprises an array of
102 as described above. The data 106 is transmitted to the 50 different types of LEDs, preferably red , green , blue and
slave light 102- 1 via (for example ) a serial communication      white LEDs, or a bi colour fixture comprising warm typi
interface (e . g . RS232, USB or DMX ) or by wireless trans -     cally 2800K LEDs and ' cool' 7000K LEDs which blend
mission (e .g . Wi- Fi ® , Bluetooth ®Zigbee® , or via a mobile    together to create a range of colour from 3200 -6300K . The
communication network utilising protocols such as GSM              array may be a panel, flood light, spot light, a cluster or any
(Groupe Special Mobile ) 3GPP ( 3rd Generation Partner - 55 other arrangement of LEDs. This provides the ability for the
ship ), or 4G LTE (Long term evolution )) via a wireless           lighting to produce light of any visible colour by varying the
communication interface 108 . The additional “ slave ' light      relative intensities of the different LEDs. The lighting may
source 102 - 1 thereby allows the production of a lighting        alternatively be a filament (incandescent), halogen or other
effect with more than one light device but without duplica - type of lighting .
tion of controllers 130 . Such additional light sources can for 60 The simulation may be performed on the fly, with lighting
example increase the area of illumination or increase the data values output from the simulator 100 to the light 102 in
power of the lighting effect.                                     near -real time, or the simulation may be performed in
    The use ofmultiple lights 102 affords additional options      advance and the lighting data values output for storage and
for producing advanced effects. FIG . 5 shows a time/bright-      later use to enable quick reproduction on set or location .
ness plot of a ‘ chase ' effect. In this example , three lights 65 The lighting control system can reduce the number of
produce outputs 200 , 202 and 204 separated in time. In such      devices required to provide lighting effects , especially where
a way, an effect of a light source ( such as a passing car ) can the lighting effect simulator is integrated in a light. This can
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                                                                                                       10
significantly reduce equipment costs and time required to set             Alternatively the calculation can be triggered by an interrupt
up equipment. The system is also more portable allowing                   generated by a timer. The calculation is typically performed
power from its on internal power source or battery instead of             every 250us.
requiring an external power generator or mains powered                       The duration of each spark can be controlled by choosing
solution . The lighting control system can be used for studio 5 whether or not to perform a new brightness calculation
and location filming lighting systems, and more generally based on the value of a counter which is decremented every
for videography, broadcast and /or cinematography.              time an interrupt occurs . When the counter reaches zero it is
   A non - exhaustive list of example effects that may be either reset to its previous start value or, for a new spark , a
produced by the system are as follows:                          new count start value is randomly generated . In this way
   Strobe The strobe range in one example is from 1 hz up each spark has a different speed , duration and peak
     to 4 hz. The last used strobe parameters are stored in               simulating the look of a real flame.
     non - volatile memory (which applies to any effect                     Generating the light output with the simulation provides
     described herein ). A user may rotate a knob on the                  a greater level of user adjustment and control than that
     device to adjust the ' duty cycle ' ( flash duration ) to 15 produced by simply sampling the intensity of a real flame
     eliminate issues with rolling shutter cameras.               and replaying it at different speeds.
  Lightning — this effect simulates lightning in a random                   An example sequence of instructions for the simulation is
     manner, but a user may control the speed at which the                as follows:
     lighting bursts re -occur. This effect is most realistic if             At the end of a spark up and down period :
     the brightness is set to 100 % and colour temperature is 20 Reset duration for next spark to between 2.5 s to 5 s
     set at 6000K . A user may rotate a knob on the device                  Generate new brightness targets for the next spark
     to adjust the 'duty cycle ' ( flash duration ) to eliminate              between 12 .5 % and 100 % of current maximum bright
     issues with rolling shutter cameras . The duration of the                ness setting.
     lightning flashes in one example is 20 ms. The lightning               Offset the random brightness targets by the requested
     strikes in one example come in bursts ofbetween 2 and 25                 brightness floor value
     8 random length pulses .                                               Set the new peak brightness target for the new spark
   Throb — Throb is a regular smoothly pulsing light                        Ensure the new targets are greater than the existing faded
   Weld — this effect replicates a welding arc .                              brightness value to prevent downward jumps
  Colour cycle — This is a regular smoothly pulsing light                   Set the fade direction to UP
     which fades between the tungsten and blue LEDs                  30     Start new animation frame:
   Fire — this effect replicates a fire with ' dancing flames ' as          Calculate brightness fade step sizes :
      is described in more detail below .                                     Fade up fast, progressively larger fade step sizes
   Police — This effect is an emulation of an emergency             Change fade direction at peak
      services light, and may be most realistic in blue light.      Fade down slow , progressively smaller fade step sizes
   Television — This effect is an emulation of someone 35         Set the frame rate for the new spark to a random value
      watching TV .                                                 prevent the curtailment of a long fade by a new short
   It should be appreciated that due to the nature of the light        pulse : if the faded brightness is still > 25 % of max
102 , the effects may be customised by a user, for example ,           then don 't allow new FramePeriod to be less than
the frequency/speed , peak /minimum brightness or colour /             old .
colour temperature may be dynamically changed , and/ or 40 FIG . 7 shows an example of the brightness varying over
made to vary over time in a customised manner. Such             timeproduced according to a simulation as described above .
user - customised effects may be stored and recalled at a later Two peaks can be seen , one reaching 100 % intensity and the
time. The effects may be triggered on cue ( for example from    other reaching 91 % intensity . The first peak fades up from
a director) by sending a signal over a wired remote trigger 10 % to 100 % in 0 .85 seconds, and back down to 56 % in 0.75
or wireless device.                                          45 seconds. The second peak fades up from 56 % to 91 % in 0 .33
   It should also be appreciated that multiple effects may be seconds, and back down to 60 % in 1. 07 seconds. The fade
emulated simultaneously , for example, fire and lightning up starts shallower and becomes steeper as it progresses. The
may be present simultaneously using a single lighting unit.               fade down starts steep and becomes shallower as it pro
   An example of a simulation for producing a fire effect is              gresses . A toggle switch is also shown which toggles
now described in more detail .                                       50 between ' Colour Swing Blue ' and 'Monochrome' . Colour
  Fire is simulated as a series of sparks'. Each spark has the            Swing Blue represents modifying the colour of peaks in
following random parameters :                                             brightness so as to replicate the increased temperature of
   Interval: New sparks are generated at an interval which                sparks in a fire , Monochrome may be used when (for
     varies randomly between a defined maximum and example ) filming in black and white , or when altering colour
     minimum interval.                                     55 of the effect may have deleterious effects on other elements
   Peak : The peak luminance of each spark varies randomly    of the scene ( for example , rendering text difficult to read ).
     between a defined minimum and maximum .                     An example of a simulation for producing a lightning
  Ramp- up time: The luminance of each spark ramps up to       effect is now described in more detail. Lightning is simu
     the peak at a randomly generated rate .                   lated as a sequence of ‘ bursts ' or groups of flashes . The
   Fade -down time: The fade from the peak is linked to the 60 number of flashes in each burst, the delay between bursts ,
      ramp-up time but is much slower — simulating the the delay between each flash within the burst, and the
      gradual decline in luminance of a burning ember.        amplitude of each flash are all set randomly within certain
   If the interval is short with respect to the ramp-up and boundaries. The minimum ‘on ’ time period of each flash can
fade -down time, then sparks can overlap in time in which     be set by the user to ensure full illumination of the camera
case the brightest spark determines the lamp luminance . 65 frame. The lamp can also be set into a mode where a burst
   The lighting effect simulator 100 typically cycles round a of flashes is triggered by the push of a button . In this way the
loop calculating new lamp brightness and colour values. effect can be triggered on demand by the user.
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                                                                                                       12
   An example sequence of instructions for the simulation of              outputting, from said effect simulator, said time varying
lightning , with a series of bursts of flashes, is as follows:               lighting value thereby to simulate the user customisable
  At the end of a burst of flashes recalculate the parameters                 lighting effect.
for the next burst:                                                       2 . The method according to claim 1 wherein the random
  Reset the number of flashes in a burst to a random number 5 brightness comprises a random peak brightness .
     between 2 and 10                                            3 . The method according to claim 1 wherein the random
   Reset the period to next burst to a random number interval comprises at least one of a random interval between
     between 2 .5 and 5 s. Calculate parameters for each      flashes, a random interval between groups of flashes, and a
     flash in a burst of flashes :                                      random frequency.
  Randomly modulate brightness of each flash slightly             10      4 . The method according to any claim 1 wherein the
  Reset the time to next flash to a random number between              random duration comprises at least one of a random ramp- up
     8 ms and 220 ms                                                   time to peak brightness , a random fade -down time from peak
  Reset the ' on ' flash duration to a random number between           brightness , and a random number of pulses .
     8 ms and 120 ms                                                      5 . The method according to claim 1 wherein said at least
     ensure a minimum off -period is maintained between 15 one simulation parameter is random within predefined
       flashes                                                         boundaries and wherein the predefined boundaries comprise
  For the final flash set the duration to a random number               at least one of an upper and lower duration ; a number of
    between 10 ms and 113 ms.                                           flashes in a burst ; an interval between bursts ; an amplitude ;
  The lighting system , lighting effect simulator, lighting             and a ramp- up or fade - down time.
controller , lighting device , computing device , and /or com - 20        6 . The method according to claim 1 wherein the at least
puter program product may have one or more of the fol-                  one of: a random brightness ; a random duration , and a
lowing features:                                                        random interval is determined in dependence on one ormore
  built- in capability to generate a range of cinematic special user- selectable simulation parameters .
     effects by modulating the colour and brightness of the          7 . The method according to claim 1 , wherein the simu
     light output.                                             25 lation parameter is related to one or more of: a rate of
  the parameters of the effects can be controlled via a simple increase of brightness ; a rate of decrease ofbrightness ; a rate
     user interface on the lamp itself.                                 of change of colour, a brightness; a local maximal bright
  the parameters of the effects can be controlled remotely             ness ; a local minimal brightness; a brightness fluctuation
    via WiFi or DMX from a smart phone or tablet.         period ; and a colour fluctuation period .
  networked with other lights to produce a synchronised 30 8 . The method according to claim 1 further comprising
    large area special effect .                           receiving a user input of one or more user -selectable simu
  minimum light pulse width can be adjusted to suit the                 lation parameters and adapting the simulation in dependence
     shutter speed or frame rate of the user ' s camera to              on the one or more user - selectable simulation parameters .
     ensure even illumination across the frame.                9 . The method according to claim 1 wherein the simula
   Various other modifications will be apparent to those 35 tion parameter comprises at least one of: a maximum
skilled in the art . It will be understood that the present             brightness ; a minimum brightness ; a colour, and a trigger .
invention has been described above purely by way of                       10 . The method according to claim 1 wherein the simu
example , and modifications of detail can be made within the           lation iterates through repeated cycles of calculating a time
scope of the invention . For example , it should be appreciated         varying lighting value based on at least one random simu
that the effect simulator 100 or the computing device 130 40 lation parameter and simulating the user customisable light
may be separate from any light 102 , and connectable to                 ing effect.
lights 102 , by either a wired or wireless connection .                    11 . The method according to claim 1 wherein the user
   The lighting effect simulator 100 may be provided by way             customisable lighting effect is designed to mimic at least one
of a suitably adapted computing device such as a PC , tablet            of fire flickering; police light; television ; lightning flashing;
or smart phone, with suitable software for user input of 45 electrical sparking ; fireworks; a neon flickering sign ; a
simulation parameters . The computing device may be a                   gunshot; welding ; a scan ; a propeller; a (nuclear) explosion ;
suitably adapted light controller device with suitable con -            a wormhole ; paparazzi flashes; flashes ( strobe ) .
trols for user input of simulation parameters                    12 . Themethod according to claim 1, further comprising
   Reference numerals appearing in the claims are by way of selecting a definition of a trigger event, said trigger event
illustration only and shall have no limiting effect on the 50 initiating said output of the time varying lighting value
scope of the claims.                                                   thereby to simulate the user customisable lighting effect.
                                                                          13. The method according to claim 1 , further comprising
  What is claimed is:                                                   storing the at least one simulation parameter corresponding
  1 . A method for controlling a lighting device to produce             to said user customisable lighting effect.
a user customisable lighting effect, the method comprising : 55            14 . The method according to claim 1 comprising control
   calculating , using an effect simulator, a time varying             l ing a plurality of lights in dependence on the output.
     lighting value based on at least one simulation param -               15 . A controller adapted to control at least one lighting
     eter; wherein said at least one simulation parameter              device to produce a user customisable lighting effect, the
     characterises a user customisable lighting effect        controller comprising :
     selected from a range of different user customisable 60 an effect simulator adapted to calculate a time varying
     lighting effects for at least one of: videography, broad      lighting value based on at least one simulation param
     casting , cinematography, studio filming , and location                 eter ; wherein said at least one simulation parameter
     filming ; wherein said at least one simulation parameter                characterises a user customisable lighting effect
     is at least one of: a random brightness ; a random                      selected from a range of different user customisable
     duration , and a random interval; said simulation param - 65            lighting effects for at least one of: videography, broad
     eter depending on the user customisable lighting effect                 casting, cinematography, studio filming, and location
     being simulated ; and                                                   filming ; wherein the at least one simulation parameter
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                             13                                                                  14
     is at least one of: a random brightness ; a random                20. A computer program comprising software code for
     duration , and a random interval; said simulation param        controlling a lighting device to produce a user customisable
     eter depending on the user customisable lighting effect lighting effect , the computer program adapted to perform ,
    being simulated ; and                                    when executed , the steps of:
                                                            5 calculating using an effect simulator a time varying light
  wherein an output of the effect simulator is adapted to         ing value based on at least one simulation parameter ;
     control a lighting device according to the calculated              wherein said at least one simulation parameter for
      variation of lighting over time.                                   characterises a user customisable lighting effect
   16 . The controller according to claim 15 , wherein the               selected from a range of different user customisable
controller comprises a wired or wireless communication 10                lighting effects for at least one of: videography , broad
                                                                        casting, cinematography, studio filming, and location
interface adapted for communication with one or more                    filming ; wherein the at least one simulation parameter
lighting devices.                                                       is at least one of: a random brightness; a random
   17 . The controller according to claim 15 , wherein the              duration , and a random interval; said simulation param
controller comprises an input interface adapted to receive a            eter depending on the user customisable lighting effect
user input.
                                                               15
                                                                         being simulated ; and
   18 . A lighting system comprising the controller according         outputting, from said effect simulator, said time varying
                                                                        lighting value thereby to simulate the user customisable
to claim 15 and at least one lighting device ; said lighting             lighting effect.
device comprising at least one light emitting diode.                  21 . The method according to claim 13, further comprising
   19 . The lighting system according to claim 18 wherein       20 recalling said stored at least one simulation parameter from
said controller and said lighting device are integrated
                                               integrated inin a a memory .
combined unit.
